      Case 3:14-cr-03360-WQH          Document 41       Filed 08/03/15     PageID.69     Page 1 of 1
                                                                                            FILED
                                                                                            AUG - 3 2015
                             UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA                            CLERK, U,S, DISTRiCT COURT
                                                                                   SOUTHERN DISTRICT OF CALIFORNIA
                                                                                   BY         I'\.P         DEPUTY

UNITED STATES OF AMERICA,                             CASE NO. 14CR3360-WQH

                             Plaintiff,
                    vs.                                JUDGMENT OF DISMISSAL
CLAY BAUTISTA-MARQUEZ (i),

                             Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

       an indictment has been filed in another case against the defendant and
       the Court has granted the motion of the Government for dismissal of
       this case, without prejudice; or

       the Court has dismissed the case for unnecessary delay; or

__x__ the Court has granted the motion of the Government for dismissal,
       without prejudice; or

       the Court has granted the motion of the defendant for a judgment of
       acquittal; or

       a jury has been waived, and the Court has found the defendant not
       guilty; or

       the jury has returned its verdict, finding the defendant not guilty;

___X _ of the offense(s) as charged in the Indictment:
18:922(a)(1)(A), 923(a), 924(a)(1)(D); 18:2 - Unlawful Dealing in Fireanns; Aiding and Abetting




              IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: AUGUST 3, 2015
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                                                        JUDGE \'VILLIAM Q. HAYES
                                                        U. S. DISTRICT COURT 3'JDGf:
